Case 2:18-cv-13536-GCS-APP ECF No. 27 filed 04/29/19   PageID.163   Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ANGELA D. ROE,

                 Plaintiff,
                                          Case No. 18-CV-13536
vs.                                       HON. GEORGE CARAM STEEH

ROOSEN, VARCHETTI
& OLIVER, et al.,

              Defendants.
__________________________/

                        ORDER TO SHOW CAUSE

      Plaintiff Angela Roe brought this suit against Defendants Roosen,

Varchetti & Oliver, PLLC, (“Roosen”), and Credit Acceptance Corporation’s

(“Credit Acceptance”) for their attempts to garnish her wages for a debt not

owed by her in alleged violation of the Fair Debt Collection Practices Act

(“FDCPA”) and under Michigan law. Defendants filed a motion for

summary judgment. Before her response to that motion was due, Plaintiff

filed a motion to amend her Complaint. The court then granted Plaintiff’s

motion to stay the briefing schedule for the summary judgment motion

pending the court’s decision on her motion to amend. The court has now

reviewed the submissions, including Defendants’ motion for summary

judgment. In their motion, Defendants raise the issue of whether this court


                                    -1-
 
Case 2:18-cv-13536-GCS-APP ECF No. 27 filed 04/29/19                PageID.164   Page 2 of 2




has Article III subject matter jurisdiction on the grounds that Plaintiff cannot

show any concrete harm as her wages were never actually garnished, nor

has Plaintiff demonstrated any harm other than confusion in this case of

mistaken identity, which allegedly is not a cognizable harm under the

FDCPA. Because the question of whether this court has subject matter

jurisdiction must be resolved first, Plaintiff is ORDERED TO SHOW CAUSE

why this action should not be dismissed for lack of standing in a brief of not

more than 14 pages to be filed on or before May 14, 2019. See Macy v.

GC Servs. Ltd. P’ship, 897 F.3d 747 (6th Cir. 2018). Defendants may file a

reply brief of not more than 7 pages on or before May 21, 2019.

      IT IS SO ORDERED.

Dated: April 29, 2019
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE



                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       April 29, 2019, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




                                            -2-
 
